    Case 4:17-cv-04144-KES Document 1 Filed 10/10/17 Page 1 of 12 PageID #: 1



                                                                                     OCT I 0 2017
                                   UNITED STATES DISTRICT COURT                      ^
                            FOR THE DISTRICT OF SOUTH DAKOTA
                                   SOUTHERN DIVISION                                           clerk


ERIC STOWELL
                                                             Case No.
                      Plaintiff,
     vs.

                                                             COMPLAINT
CREDICO,INC. dba CREDIT
COLLECTIONS BUREAU


                      Defendant.


                                         NATURE OF ACTION


           1.     Plaintiff Eric Stowell ("Plaintiff) brings this action against Defendant Credico,

   Inc. dba Credit Collections Bureau ("Defendant") pursuant to the Fair Debt Collection Practices

   Act("FDCPA"), 15 U.S.C. § 1692 etseq.

                                   JURISDICTION,VENUE,AND STANDING

           2.     This Court has jurisdiction pursuant to 15 U.S.C. § I692k;(d) and 28 U.S.C. §

   I33I.


           3.     Venue is proper before this Court pursuant to 28 U.S.C. § 1391(b), where the acts

   and transactions giving rise to Plaintiffs action occurred in this district, where Plaintiff resides in

   this district, and where Defendant transacts business in this district.

           4.     "In determining whether an intangible harm constitutes injury in fact, both history

   and the judgment of Congress play important roles." Spokeo, Inc. v. Robins, 136 S. Ct. 1540,

   1549, 194 L. Ed. 2d 635 (2016), as revised (May 24, 2016). Congress is "well positioned to

   identify intangible harms that meet minimum Article III requirements," thus "Congress may

   'elevat[e] to the status of legally cognizable injuries concrete, de facto injuries that were




                                                     -I-
Case 4:17-cv-04144-KES Document 1 Filed 10/10/17 Page 2 of 12 PageID #: 2
Case 4:17-cv-04144-KES Document 1 Filed 10/10/17 Page 3 of 12 PageID #: 3
Case 4:17-cv-04144-KES Document 1 Filed 10/10/17 Page 4 of 12 PageID #: 4
Case 4:17-cv-04144-KES Document 1 Filed 10/10/17 Page 5 of 12 PageID #: 5
Case 4:17-cv-04144-KES Document 1 Filed 10/10/17 Page 6 of 12 PageID #: 6
Case 4:17-cv-04144-KES Document 1 Filed 10/10/17 Page 7 of 12 PageID #: 7
Case 4:17-cv-04144-KES Document 1 Filed 10/10/17 Page 8 of 12 PageID #: 8
Case 4:17-cv-04144-KES Document 1 Filed 10/10/17 Page 9 of 12 PageID #: 9
Case 4:17-cv-04144-KES Document 1 Filed 10/10/17 Page 10 of 12 PageID #: 10
Case 4:17-cv-04144-KES Document 1 Filed 10/10/17 Page 11 of 12 PageID #: 11
Case 4:17-cv-04144-KES Document 1 Filed 10/10/17 Page 12 of 12 PageID #: 12
